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     Attorney for Defendant
 5   IMESH PERERA
 6
 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                      )      Case No. 2:10-cr-00347-MCE
10                                                  )
                    Plaintiff,                      )
11          vs.                                     )
                                                    )      STIPULATION AND ORDER TO
12                                                  )      CONTINUE STATUS CONFERENCE
     DISHAN PERERA, et al.
                                                    )
13                                                  )      Court: Hon. Morrison C. England
                    Defendant.                      )      Time: 9:00 a.m.
14                                                  )      Date: December 5, 2013
                                                    )
15
16          Defendant Imesh Perera, by and through his undersigned counsel and the United States

17   Government, by and through Assistant United States Attorney Jill Thomas, hereby agree and

18   stipulate that the status conference currently scheduled for December 5, 2013 be continued until
19   January 23, 2014. The defendant is charged in a five count indictment alleging violations of 21
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     U.S.C. §§s 841 (a) (1) and § 846 – possession with intent to distribute and conspiracy to
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     distribute methamphetamine. The government has previously provided a Plea Agreement to the
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     defendant. It includes a factual basis stretching over a period of more than one year and
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24   involving numerous intercepted telephone conversations. The defense has requested the

25   government provide some additional information clarifying relevant aspects as to some of the

26   incidents mentioned in the factual basis. The government has provided this information and the
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     defense needs additional time to review the materials. Just recently the government has agreed
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 1   to entertain another proposal from the defendants and needs more time to evaluate and respond
 2   to the new proposal. The parties therefore agree that additional time is needed to finalize the
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     terms of a plea agreement. Therefore, the parties request a status conference date of January 23,
 4
     2014 and that date is available with the Court.
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            The parties agree that time should be excluded under 18 U.S.C. § 3161 (h) (8) (i) for
 6
 7   defense preparation and under local code T4.

 8   Dated: December 2, 2013
                                                   Respectfully submitted,
 9                                                 LAW OFFICES OF MARK WAECKER
10                                                 _______/s/_Mark Waecker__________
11                                                 Mark Waecker, Esq.
                                                   Attorney for Defendant,
12                                                 IMESH PERERA

13   Dated: December 2, 2013
                                                   _______/s/__Jill Thomas____________
14                                                 Jill Thomas
15                                                 Assistant United States Attorney
                                                   Attorney for Plaintiff
16                                                 UNITED STATES OF AMERICA

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 1
                                                   ORDER
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            Good cause having been shown, it is hereby ordered that the status conference currently
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     scheduled for December 5, 2013, is continued to January 23, 2014 at 9:00 a.m. Based on the
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     representation of the parties, the Court finds that the ends of justice served by granting the
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     continuance outweigh the best interest of the public and the defendant in a speedy trial. Time
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     under the Speedy Trial Act shall be excluded under 18 U.S.C. § 3161(h)(7)(B)(4) and Local
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     Code T-4 up to and including January 23, 2014.
 9
            IT IS SO ORDERED.
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     Dated: December 3, 2013
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